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                      EXHIBITB
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    Case 1:14-cv-00333-CCE-JEP Document 48-2 Filed 03/23/15 Page 1 of 136
                        IN THE UNITED STATES DISTRICT COURT
                     FOR THE MIDDLE DISTRICT OF NORTH CAROLINA

THOMAS H. KRAKAUER,
on behalf of a class of persons
similarly situated,

        Plaintiff,

v.                                                Civil Action No. 1:14-cv-00333-CCE-JEP

DISH NETWORK, L.L.C.,

        Defendant.

           EXPERT REPORT OF ANYA VERKHOVSKAYA, A.B. DATA, LTD.

SCOPE OF WORK

        Plaintiff’s counsel asked me to analyze telemarketing call records produced by Five9, a

telephone dialing system software company. A.B. Data, Ltd.'s Class Action Administration

Company ("A.B. Data") was advised by Plaintiff’s counsel that these records show telemarketing

calls placed by Satellite Systems Network (“SSN”) company to consumers in an effort to sell

DISH Network ("DISH") satellite television subscriptions.

        A.B. Data understands that Plaintiff alleges in Count One of the Complaint that he and

putative class members whose residential telephone numbers were listed on the National Do Not

Call Registry ("NDNCR") received two or more telemarketing calls from SSN promoting the

sale of DISH services during a twelve-month period. I directed analysis of the call records to

identify persons who received such calls, were on the NDNCR at least 30 days prior to the first

call, and whose telephone numbers were not identified as business telephone numbers or

numbers associated with Dish Customers, per the SSN data.

        A.B. Data understands that Plaintiff alleges in Count Two of the Complaint that he and

putative class members received two or more telemarketing calls from SSN promoting DISH




Expert Report of Anya Verkhovskaya, A.B. Data, Ltd.                                          1
     Case 1:14-cv-00333-CCE-JEP Document 48-2 Filed 03/23/15 Page 2 of 136
subscriptions after telling SSN and DISH they did not want to receive telemarketing calls. I

directed analysis of the call records, in conjunction with a list of individuals who had previously

informed DISH and/or SSN that they did not want to receive telemarketing calls, in order to

identify persons who received such calls, had notified DISH and/or SSN at least 30 days prior,

and whose telephone numbers were not identified as business telephone numbers or numbers

associated with Dish Customers, per the SSN data.

EXPERIENCE AND QUALIFICATIONS

        I regularly oversee and direct the analysis of call records in my capacity as a Partner and

Chief Operating Officer of A.B. Data, headquartered in Milwaukee, Wisconsin. A.B. Data

provides a full range of class action and complex litigation support services, and specializes in

multifaceted project management as well as notice, claims and settlement fund administration.

        A.B. Data has been appointed as Notice, Claims, and/or Settlement Administrator in

hundreds of high volume consumer, civil rights, insurance, antitrust, ERISA, securities, and

wage and hour cases. I am familiar with and have been directly responsible for administering

some of the largest and most complex class action settlements of all time, involving all aspects of

direct, media and their party notice programs, data management, claims administration, and

settlement fund distribution.

        For example, A.B. Data was appointed by the U.S. District Court for the Eastern District

of New York to administer the notice and claims process in In re Holocaust Victim Assets

Litigation, No. CV-96-4849. For this $1.2 billion settlement benefiting more than 100,000

potential claimants, A.B. Data designed, analyzed and implemented class member location,

notice, document management systems and claims administration and processing in the matter.




Expert Report of Anya Verkhovskaya, A.B. Data, Ltd.                                              2
    Case 1:14-cv-00333-CCE-JEP Document 48-2 Filed 03/23/15 Page 3 of 136
        Other cases include: Wyatt v. El Paso Corporation ($285 million settlement); In re

Symbol Technologies, Inc. Securities Litigation ($139 million settlement); In re Lernout &

Hauspie Securities Litigation ($120.5 million settlement); Perez v. Rent-A-Center, Inc. ($109

million settlement); In re Reliant Securities Litigation ($75 million settlement); In re Ready-

Mixed Concrete Antitrust Litigation ($50 million settlement); In re Marsh ERISA Litigation

($35 million settlement); Carlson v. State of Alaska, Commercial Fisheries Entry Commission

($33.5 million settlement); and In re Marine Hose Antitrust Litigation ($21.7 million settlement).

        In virtually every case A.B. Data administers, its Court-appointed role is to use available

class member records and data to identify class members in order to send them appropriate

notice and, if applicable, claims information in a manner consistent with constitutional due

process.

        My hourly rate is $425 an hour. I expect that A.B. Data will be paid approximately

$6,000 for the work to date.

        In   cases    brought    under     the   Telephone   Consumer   Protection   Act   (TCPA),

47 U.S.C. § 227, A.B. Data routinely analyzes call records to identify class members.           In

analyzing the call records, A.B. Data regularly partners with reputable data vendors such as

LexisNexis, Experian, Nexxa Group, Inc. (“Nexxa”), and others (collectively, “Data

Processors”). A.B. Data has longstanding relationships and prior experience with the Data

Processors. The Data Processors are able to provide information via access to numerous records

and data sources:       Nexxa provides information from the National Do Not Call Registry,

including date of registry; Experian provides skip-tracing services to identify the most recent

address of an individual based upon a combination of name, address history, and/or telephone




Expert Report of Anya Verkhovskaya, A.B. Data, Ltd.                                              3
    Case 1:14-cv-00333-CCE-JEP Document 48-2 Filed 03/23/15 Page 4 of 136
number;1 LexisNexis provides information from public and proprietary records, including

information regarding whether a particular telephone number was associated with a business or

residence and telephone number subscriber information.2

        I regularly use these Data Processors in administering class action settlements, a context

in which maximum accuracy and reliability is critical. In my experience, gained over the course

of several years of working with these vendors, the vendors provide accurate and reliable

information, and are regularly called upon to provide this type of information in

Court-supervised class action settlements.

        Cases brought under the TCPA in which A.B. Data has provided data analysis utilizing

Data Processors' services as discussed above include:

                  a.     Desai, et al. v. ADT Sec. Servs., Inc., et al., Case No. 1:11-cv-1925,

United States District Court for the Northern District of Illinois, Eastern Division

(as court-approved settlement administrator);

                  b.     D. Michael Collins and Milford & Ford Assoc. Inc. v. ACS, Inc., Case

No. 1:10-cv-11912, United States District Court, District of Massachusetts (as court-approved

settlement administrator);

                  c.     Brey Corp. t/a Hobby Works v. Life Time Improvements, Inc., Case No.

349410-v, Circuit Court for Montgomery County, Maryland (as court-approved settlement

administrator);

                  d.     Evan Fray-Witzer v. Olde Stone Land Survey Co., Inc., Case. No.


1
  According to Experian at www.experian.com/consumer-information/sikp-tracing-services.com, MetroNet provides
access to comprehensive contact data on more than 140 million households and 19 million businesses with multiple
data sources updated regularly to ensure the most accurate, up-to-date information available.
2
  It is common knowledge within the class action administration industry that LexisNexis is one of the largest
aggregators of public record and proprietary information. Their information comes from governmental sources,
leading credit bureaus, national address databases, national phone databases, utility information, warranty and
subscription information and thousands of other sources.




Expert Report of Anya Verkhovskaya, A.B. Data, Ltd.                                                           4
     Case 1:14-cv-00333-CCE-JEP Document 48-2 Filed 03/23/15 Page 5 of 136
2008-04175, Suffolk Superior Court of Massachusetts (as court-approved settlement

administrator);

                  e.     Milford & Ford Assoc., Inc., and D. Michael Collins v. Cell-Tek, LLC,

Case No. 1:09-cv-11261-DPW, United States District Court, District of Massachusetts (as court-

approved settlement administrator);

                  f.     Mann & Co., PC v. C-Tech Indus. Inc., Case No. 1:08CV11312-RGS,

United States District Court, District of Massachusetts (as court-approved settlement

administrator);

                  g.     Diana Mey et al. v. Herbalife Int’l, Inc., et al., Case No. 01-C-263, Circuit

Court of Ohio County, West Virginia (as court-approved settlement administrator);

                  h.     Evan Fray-Witzer and Beardsley Ruml v. Metro. Antiques, LLC, Case

No. 02-5827, Suffolk Superior Court of Massachusetts (as court-approved settlement

administrator);
                  i.     Martin v. Dun & Bradstreet, Inc., et al., Case No. 1:12CV215, United

States District Court for the Northern District of Illinois, Eastern Division (as court-approved

settlement administrator);

                  j.     Donaca v. Dish Network, L.L.C., Case No. 11-cv-2910-RBJ-KLM, United

States District Court for the District of Colorado;

                  k.     Warnick,      et    al.      v.   DISH   Network,    L.L.C.,    Case     No.

1:12-cv-01952-WYD-MEH, United States District Court for the District of Colorado;

                  l.     Lopera v. The Receivable Mgmt. Servs. Corp., Case No. 12-CV-9649,

United States District Court the Northern District of Illinois Eastern Division;

                  m.     Kubacki v. Peapod, LLC, Case No. 13 C 729, United States District Court

for the Northern District of Illinois, Eastern Division;




Expert Report of Anya Verkhovskaya, A.B. Data, Ltd.                                                 5
    Case 1:14-cv-00333-CCE-JEP Document 48-2 Filed 03/23/15 Page 6 of 136
                n.       Benzion v. Vivint, Inc., Case No. 12-CV-61826-WJZ, United States

District Court, Southern District of Florida, Fort Lauderdale Division (as court-approved

settlement administrator);

                o.       Mey v. Honeywell Int’l., Inc., et al., Case No. 2:12-cv-1721, United States

District Court for the Southern District of West Virginia;

                p.       Southwell, et al. v. Mortgage Investors Corporation of Ohio, Inc., et al.,

Case No. 2:13-cv-01289-MJP, United States District Court, Western District of Washington;

                q.       Horton v. Cavalry Portfolio Services, LLC, Case No. 13 CV0307 JAH

WVG, United States District Court, Southern District of California; and

                r.       Shamblin       v.    Obama          For      America,      et   al.,     Case       No.

8:13-cv-02428-VMC-TMB, United States District Court, Middle District of Florida, Tampa

Division.

        I have also testified in the following matters as an expert witness at deposition or trial in

the last four years in the following cases:

                a.       In   the    matter     of        Donaca   v.   Dish      Network,      L.L.C.,     Case

No. 11-cv-2910-RBJ-KLM, United States District Court for the District of Colorado, I provided

an expert report regarding analysis of call records as compared to the National Do Not Call

Registry and deposition testimony regarding that analysis and other capabilities of A.B. Data;

                b.       In    the     matter        of     Warnick      v.      Dish    Network,         L.L.C.,

Case No. 1:12-cv-01952-WYD-MEH, United States District Court for the District of Colorado,

I provided an expert report regarding A.B. Data’s abilities to analyze call records to identify calls

made to cellular/mobile telephone numbers and to identify subscribers of telephone numbers and

deposition testimony regarding same;




Expert Report of Anya Verkhovskaya, A.B. Data, Ltd.                                                            6
    Case 1:14-cv-00333-CCE-JEP Document 48-2 Filed 03/23/15 Page 7 of 136
                c.       In the matter of Benzion v. Vivint, Inc., Case No. 12-CV-61826-WJZ,

United States District Court, Southern District of Florida, Fort Lauderdale Division, I provided

an expert report regarding data analysis of call logs, including comparison of call records to the

National Do Not Call Registry and analysis of call records to identify calls made to

cellular/mobile telephone numbers and deposition testimony regarding same;

                d.       In the matter of Southwell, et al. v. Mortgage Investors Corporation of

Ohio, Inc., et al., Case No. 2:13-cv-01289-MJP, United States District Court, Western District of

Washington, I provided an expert report regarding analysis of call records to identify telephone

numbers associated with business or residence and deposition testimony regarding same and

capabilities of A.B. Data;

                e.       In the matter of Horton v. Cavalry Portfolio Services, LLC, Case No.

13 CV0307 JAH WVG, United States District Court, Southern District of California, I provided

an expert report regarding analysis of call records to identify calls made to cellular/mobile

telephone numbers and ability to identify subscribers and testimony regarding same.

                                               ANALYSIS

Source Data

        I was provided with the following data files representing 1,661,318 calls placed by SSN

to promote DISH satellite-television subscriptions (“Source Data” or “Five9 Records”):

        x   CONFIDENTIAL – SatelliteSystemsNetwork2010-20110801-20110831.csv
        x   CONFIDENTIAL – SatelliteSystemsNetwork2010-20110701-20110731.csv
        x   CONFIDENTIAL – SatelliteSystemsNetwork2010-20110601-20110630.csv
        x   CONFIDENTIAL – SatelliteSystemsNetwork2010-20110501-20110531.csv
        x   CONFIDENTIAL – SatelliteSystemsNetwork2010-20110801-20110831.csv
        x   CONFIDENTIAL – SatelliteSystemsNetwork2010-20110401-20110430.csv
        x   CONFIDENTIAL – SatelliteSystemsNetwork2010-20110301-20110331.csv
        x   CONFIDENTIAL – SatelliteSystemsNetwork2010-20110101-20110131.csv
        x   CONFIDENTIAL – SatelliteSystemsNetwork2010-20101201-20101231.csv
        x   CONFIDENTIAL – SatelliteSystemsNetwork2010-20101101-20101130.csv




Expert Report of Anya Verkhovskaya, A.B. Data, Ltd.                                             7
    Case 1:14-cv-00333-CCE-JEP Document 48-2 Filed 03/23/15 Page 8 of 136
Case 1:14-cv-00333-CCE-JEP Document 48-2 Filed 03/23/15 Page 9 of 136
        This step left 230,121 remaining calls (the “Connected Calls”) to analyze.

Count One/NDNCR -- Analysis of Connected Calls

        As stated above, I was asked to identify persons who received more than one SSN/DISH

call within any 12-month period, at a time when that telephone number had been listed on the

National Do Not Call Registry (“NDNCR”) for at least 30 days.3

        The first step in this analysis was to determine which of the Connected Calls were called

more than once in any 12-month period. This was determined through programmatic queries of

the Analysis Database, a commonly-used data analysis procedure, as conducted by our

Information Systems team and reviewed by our Quality Assurance team in cooperation with our

Project Management team. This analysis identified 164,494 records representing all Connected

Calls made to 58,151 unique telephone numbers that had received more than one call.

        Second, A.B. Data coordinated with Nexxa to determine which of these numbers were

listed on the NDNCR as of April 1, 2010. April 1, 2010 represents the date 30 days prior to

May 1, 2010, the first date covered by the call records. A.B. Data submitted a data file of the

58,151 unique telephone numbers represented by the 164,494 calls referenced above. Based

upon the output data received from Nexxa and compared to the Analysis Database, it was found

that 23,625 unique telephone numbers were listed on the NDNCR as of April 1, 2010

(the “NDNCR Numbers”). The number of calls made to those telephone numbers more than

30 days after the NDNCR date of April 1, 2010, was 66,448. This information was tracked in

the Analysis Database.

        Third, A.B. Data reviewed the 23,625 NDNCR Numbers identified in the second step to

identify any of those telephone numbers for which at least one of the Connected Calls had been

3
  This and any subsequent references to 30-day timeframes designate inclusive timeframes, meaning, for example,
that a telephone number was on a list or registry for at least 30 full days prior to a subsequent action/call.




Expert Report of Anya Verkhovskaya, A.B. Data, Ltd.                                                          9
    Case 1:14-cv-00333-CCE-JEP Document 48-2 Filed 03/23/15 Page 10 of 136
assigned the disposition “Business” according to the Source Data. This analysis resulted in

identification of 1,275 unique telephone numbers as being business-identified telephone records.

        A.B. Data also coordinated with LexisNexis, with which it has established a specialized

query based upon LexisNexis’ proprietary aggregated data sources, to determine which

additional telephone numbers were identified as business numbers during the relevant timeframe.

This analysis resulted in the identification of 118 additional records as business-identified

telephone numbers in the Analysis Database. The analysis in this step resulted in identification

of (i) a total 1,393 unique telephone numbers that were identified, via the Source Data and

A.B. Data’s additional research, as business telephone numbers during the relevant timeframe

and (ii) a total of 22,232 unique NDNCR Numbers that were not identified as business numbers

during the relevant timeframe (the “Non-business NDNCR Numbers”).

        Fourth, A.B. Data reviewed the Non-business NDNCR Numbers to identify any

telephone numbers for which at least one of the Connected Calls had been assigned the

disposition of “Dish Customer” according to the Source Data.          This analysis resulted in

identification of 1,782 unique telephone numbers identified per the Source Data as being, at the

time of at least one Connected Call, a “Dish Customer.” This analysis resulted in identification

of 20,450 unique telephone numbers that were on the NDNCR as of April 1, 2010, at least

30 days prior to any Connected Calls, received more than one Connected Call were not identified

as business telephone numbers according to the call dispositions in the Source Data or

A.B. Data’s additional research via LexisNexis, and had not received a Connected Call

dispositioned as “Dish Customer.”           The total number of Connected Calls made to these

telephone numbers is 57,900.

        In summary, my analysis of the Source Data reveals that 20,450 unique telephone




Expert Report of Anya Verkhovskaya, A.B. Data, Ltd.                                          10
    Case 1:14-cv-00333-CCE-JEP Document 48-2 Filed 03/23/15 Page 11 of 136
Case 1:14-cv-00333-CCE-JEP Document 48-2 Filed 03/23/15 Page 12 of 136
        A.B. Data combined the three lists (combined, the “Internal DNC”) for purposes of

comparing them to the Analysis Database.

        Next, the Analysis Database was queried to compare the dates and telephone numbers of

the Internal DNC against the dates and telephone numbers of the Connected Calls. This query

looked for calls that were made to telephone numbers that received more than one Connected

Call where the telephone number had been listed on the Internal DNC for at least 30 days prior to

the date of the first Connected Call. As a result of this query, it was determined that there were

24,515 Connected Calls (the “IDNC Connected Calls”) made to 8,590 unique telephone numbers

(the “IDNC Numbers”).

        Following the same methodology, performed and described earlier in this Expert report

related to the analysis completed relating to Count 1 of the Complaint, A.B. Data reviewed the

IDNC Numbers to identify any telephone numbers that were dispositioned as “Business” in the

Source Data or identified via LexisNexis as business telephone numbers during the relevant

timeframe.     This resulted in identification of 350 unique telephone numbers identified as

business telephone numbers.         A.B. Data also reviewed the IDNC Numbers to identify any

telephone numbers for which any Connected Call was dispositioned as “Dish Customer” in the

Source Data. This analysis resulted in identification of 1,123 unique telephone numbers that

were disposition as “Dish Customer”.

        In summary, my analysis of the Source Data reveals 7,117 unique telephone numbers that

received more than one Connected Call and were on the Internal DNC at least 30 days prior to

the first Connected Call; these unique telephone numbers received 20,549 Connected Calls.

Attached to this Expert Report as Exhibit B is a listing of the 7,117 unique telephone numbers

along with relevant information regarding associated names and addresses, as available from the




Expert Report of Anya Verkhovskaya, A.B. Data, Ltd.                                            12
    Case 1:14-cv-00333-CCE-JEP Document 48-2 Filed 03/23/15 Page 13 of 136
Case 1:14-cv-00333-CCE-JEP Document 48-2 Filed 03/23/15 Page 14 of 136
Case 1:14-cv-00333-CCE-JEP Document 48-2 Filed 03/23/15 Page 15 of 136
into the Analysis Database.

        In addition to the address research completed and described herein, A.B. Data would

coordinate to update the addresses researched and obtained from the Five9 records prior to any

mailing of notification materials via the use of the United States Postal Service ("USPS")

National Change of Address (“NCOALink”) database, which contains approximately 160 million

records or 48 months of permanent addresses. NCOALink is updated daily and USPS regularly

provides change-of-address information to NCOALink licensees.            NCOALink helps reduce

undeliverable-as-addressed ("UAA") mail by correcting input addresses prior to mailing.

Additional address updating via Experian’s MetroNet® service would be coordinated for any

addresses determined to be undeliverable. Further, in addition to the address and name research

completed herein, A.B. Data would coordinate with additional Data Processors, such as

Experian, to identify addresses based upon name and telephone number information and/or to

identify additional name information based upon telephone number, if needed, for further

supplementation of information that has not yet been identified.

        It is common in my profession to rely on Data Processors to identify the names and

addresses of subscribers of telephone numbers. I and many A.B. Data employees have used Data

Processors to perform similar court-accepted and/or approved services for a number of cases in

numerous courts across the country. Additionally, it is common practice in the industry of class

action administration to utilize the date services described herein as provided by Data Processors.

        To ensure the accuracy of the analysis and process outlined in this Expert Report, quality

procedures were performed.           First, members of the Information Systems team, Quality

Assurance team, and Project Management team met to determine data analysis and processing

steps. Second, at my direction, my Quality Assurance team reviewed and signed off on the




Expert Report of Anya Verkhovskaya, A.B. Data, Ltd.                                             15
    Case 1:14-cv-00333-CCE-JEP Document 48-2 Filed 03/23/15 Page 16 of 136
analysis process, including scripting and data loads.       Third, input versus output counts,

cross/counts, and field inventory were verified. Fourth, the results of the relevant queries were

independently verified.

        I have reached the opinions expressed herein based on a reasonable degree of certainty in

the field of data management, data analysis, class member identification, and claims

administration.

                Executed at Milwaukee, Wisconsin this 30th day of January, 2015.

                _____________________________________
                Anya Verkhovskaya




Expert Report of Anya Verkhovskaya, A.B. Data, Ltd.                                           16
    Case 1:14-cv-00333-CCE-JEP Document 48-2 Filed 03/23/15 Page 17 of 136
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Case 1:14-cv-00333-CCE-JEP Document 48-2 Filed 03/23/15 Page 18 of 136
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Exhibit A




                   Case 1:14-cv-00333-CCE-JEP Document 48-2 Filed 03/23/15 Page 19 of 136
Record      DNIS     FirstName      LastName         Street                City             State   Zip
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Exhibit A




                   Case 1:14-cv-00333-CCE-JEP Document 48-2 Filed 03/23/15 Page 20 of 136
Record      DNIS     FirstName      LastName         Street                City             State   Zip
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Exhibit A




                   Case 1:14-cv-00333-CCE-JEP Document 48-2 Filed 03/23/15 Page 21 of 136
Record      DNIS     FirstName      LastName         Street                City             State   Zip
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Exhibit A




                   Case 1:14-cv-00333-CCE-JEP Document 48-2 Filed 03/23/15 Page 22 of 136
Record      DNIS     FirstName      LastName         Street                City             State   Zip
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Exhibit A




                   Case 1:14-cv-00333-CCE-JEP Document 48-2 Filed 03/23/15 Page 23 of 136
Record      DNIS     FirstName      LastName         Street                City             State   Zip
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Exhibit A




                   Case 1:14-cv-00333-CCE-JEP Document 48-2 Filed 03/23/15 Page 24 of 136
Record      DNIS     FirstName      LastName         Street                City             State   Zip
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Exhibit A




                   Case 1:14-cv-00333-CCE-JEP Document 48-2 Filed 03/23/15 Page 25 of 136
Record      DNIS     FirstName      LastName         Street                City             State   Zip
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Exhibit A




                   Case 1:14-cv-00333-CCE-JEP Document 48-2 Filed 03/23/15 Page 26 of 136
Record      DNIS     FirstName      LastName         Street                City             State   Zip
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Exhibit A




                   Case 1:14-cv-00333-CCE-JEP Document 48-2 Filed 03/23/15 Page 27 of 136
Record      DNIS     FirstName      LastName         Street                City             State   Zip
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Exhibit A




                   Case 1:14-cv-00333-CCE-JEP Document 48-2 Filed 03/23/15 Page 28 of 136
Record      DNIS     FirstName      LastName         Street                City             State   Zip
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Exhibit A




                   Case 1:14-cv-00333-CCE-JEP Document 48-2 Filed 03/23/15 Page 29 of 136
Record      DNIS     FirstName      LastName         Street                City             State   Zip
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Exhibit A




                   Case 1:14-cv-00333-CCE-JEP Document 48-2 Filed 03/23/15 Page 30 of 136
Record      DNIS     FirstName      LastName         Street                City             State   Zip
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Exhibit A




                   Case 1:14-cv-00333-CCE-JEP Document 48-2 Filed 03/23/15 Page 31 of 136
Record      DNIS     FirstName      LastName         Street                City             State   Zip
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Exhibit A




                   Case 1:14-cv-00333-CCE-JEP Document 48-2 Filed 03/23/15 Page 32 of 136
Record      DNIS     FirstName      LastName         Street                City             State   Zip
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Exhibit A




                   Case 1:14-cv-00333-CCE-JEP Document 48-2 Filed 03/23/15 Page 33 of 136
Record      DNIS     FirstName      LastName         Street                City             State   Zip
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Exhibit A




                   Case 1:14-cv-00333-CCE-JEP Document 48-2 Filed 03/23/15 Page 34 of 136
Record      DNIS     FirstName      LastName         Street                City             State   Zip
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Exhibit A




                   Case 1:14-cv-00333-CCE-JEP Document 48-2 Filed 03/23/15 Page 35 of 136
Record      DNIS     FirstName      LastName         Street                City             State   Zip
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Exhibit A




                   Case 1:14-cv-00333-CCE-JEP Document 48-2 Filed 03/23/15 Page 36 of 136
Record      DNIS     FirstName      LastName         Street                City             State   Zip
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Exhibit A




                   Case 1:14-cv-00333-CCE-JEP Document 48-2 Filed 03/23/15 Page 37 of 136
Record      DNIS     FirstName      LastName         Street                City             State   Zip
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Exhibit A




                   Case 1:14-cv-00333-CCE-JEP Document 48-2 Filed 03/23/15 Page 38 of 136
Record      DNIS     FirstName      LastName         Street                City             State   Zip
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Exhibit A




                   Case 1:14-cv-00333-CCE-JEP Document 48-2 Filed 03/23/15 Page 39 of 136
Record      DNIS     FirstName      LastName         Street                City             State   Zip
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Exhibit A




                   Case 1:14-cv-00333-CCE-JEP Document 48-2 Filed 03/23/15 Page 40 of 136
Record      DNIS     FirstName      LastName         Street                City             State   Zip
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Exhibit A




                   Case 1:14-cv-00333-CCE-JEP Document 48-2 Filed 03/23/15 Page 41 of 136
Record      DNIS     FirstName      LastName         Street                City             State   Zip
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Exhibit A




                   Case 1:14-cv-00333-CCE-JEP Document 48-2 Filed 03/23/15 Page 42 of 136
Record      DNIS     FirstName      LastName         Street                City             State   Zip
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Exhibit A




                   Case 1:14-cv-00333-CCE-JEP Document 48-2 Filed 03/23/15 Page 43 of 136
Record      DNIS     FirstName      LastName         Street                City             State   Zip
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                   Case 1:14-cv-00333-CCE-JEP Document 48-2 Filed 03/23/15 Page 44 of 136
Record      DNIS     FirstName      LastName         Street                City             State   Zip
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Exhibit A




                   Case 1:14-cv-00333-CCE-JEP Document 48-2 Filed 03/23/15 Page 45 of 136
Record      DNIS     FirstName      LastName         Street                City             State   Zip
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Exhibit A




                   Case 1:14-cv-00333-CCE-JEP Document 48-2 Filed 03/23/15 Page 46 of 136
Record      DNIS     FirstName      LastName         Street                City             State   Zip
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Exhibit A




                   Case 1:14-cv-00333-CCE-JEP Document 48-2 Filed 03/23/15 Page 47 of 136
Record      DNIS     FirstName      LastName         Street                City             State   Zip
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Exhibit A




                   Case 1:14-cv-00333-CCE-JEP Document 48-2 Filed 03/23/15 Page 48 of 136
Record      DNIS     FirstName      LastName         Street                City             State   Zip
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Exhibit A




                   Case 1:14-cv-00333-CCE-JEP Document 48-2 Filed 03/23/15 Page 49 of 136
Record      DNIS     FirstName      LastName         Street                City             State   Zip
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Exhibit A




                   Case 1:14-cv-00333-CCE-JEP Document 48-2 Filed 03/23/15 Page 50 of 136
Record      DNIS     FirstName      LastName         Street                City             State   Zip
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Exhibit A




                   Case 1:14-cv-00333-CCE-JEP Document 48-2 Filed 03/23/15 Page 51 of 136
Record      DNIS     FirstName      LastName         Street                City             State   Zip
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Exhibit A




                   Case 1:14-cv-00333-CCE-JEP Document 48-2 Filed 03/23/15 Page 52 of 136
Record      DNIS     FirstName      LastName         Street                City             State   Zip
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Exhibit A




                   Case 1:14-cv-00333-CCE-JEP Document 48-2 Filed 03/23/15 Page 53 of 136
Record      DNIS     FirstName      LastName         Street                City             State   Zip
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Exhibit A




                   Case 1:14-cv-00333-CCE-JEP Document 48-2 Filed 03/23/15 Page 54 of 136
Record      DNIS     FirstName      LastName         Street                City             State   Zip
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Exhibit A




                   Case 1:14-cv-00333-CCE-JEP Document 48-2 Filed 03/23/15 Page 55 of 136
Record      DNIS     FirstName      LastName         Street                City             State   Zip
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Exhibit A




                   Case 1:14-cv-00333-CCE-JEP Document 48-2 Filed 03/23/15 Page 56 of 136
Record      DNIS     FirstName      LastName         Street                City             State   Zip
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Exhibit A




                   Case 1:14-cv-00333-CCE-JEP Document 48-2 Filed 03/23/15 Page 57 of 136
Record      DNIS     FirstName      LastName         Street                City             State   Zip
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Exhibit A




                   Case 1:14-cv-00333-CCE-JEP Document 48-2 Filed 03/23/15 Page 58 of 136
Record      DNIS     FirstName      LastName         Street                City             State   Zip
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Exhibit A




                   Case 1:14-cv-00333-CCE-JEP Document 48-2 Filed 03/23/15 Page 59 of 136
Record      DNIS     FirstName      LastName         Street                City             State   Zip
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Exhibit A




                   Case 1:14-cv-00333-CCE-JEP Document 48-2 Filed 03/23/15 Page 60 of 136
Record      DNIS     FirstName      LastName         Street                City             State   Zip
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Exhibit A




                   Case 1:14-cv-00333-CCE-JEP Document 48-2 Filed 03/23/15 Page 61 of 136
Record      DNIS     FirstName      LastName         Street                City             State   Zip
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Exhibit A




                   Case 1:14-cv-00333-CCE-JEP Document 48-2 Filed 03/23/15 Page 62 of 136
Record      DNIS     FirstName      LastName         Street                City             State   Zip
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Exhibit A




                   Case 1:14-cv-00333-CCE-JEP Document 48-2 Filed 03/23/15 Page 63 of 136
Record      DNIS     FirstName      LastName         Street                City             State   Zip
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Exhibit A




                   Case 1:14-cv-00333-CCE-JEP Document 48-2 Filed 03/23/15 Page 64 of 136
Record      DNIS     FirstName      LastName         Street                City             State   Zip
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Exhibit A




                   Case 1:14-cv-00333-CCE-JEP Document 48-2 Filed 03/23/15 Page 65 of 136
Record      DNIS     FirstName      LastName         Street                City             State   Zip
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Exhibit A




                   Case 1:14-cv-00333-CCE-JEP Document 48-2 Filed 03/23/15 Page 66 of 136
Record      DNIS     FirstName      LastName         Street                City             State   Zip
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Exhibit A




                   Case 1:14-cv-00333-CCE-JEP Document 48-2 Filed 03/23/15 Page 67 of 136
Record      DNIS     FirstName      LastName         Street                City             State   Zip
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Exhibit A




                   Case 1:14-cv-00333-CCE-JEP Document 48-2 Filed 03/23/15 Page 68 of 136
Record      DNIS     FirstName      LastName         Street                City             State   Zip
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Exhibit A




                   Case 1:14-cv-00333-CCE-JEP Document 48-2 Filed 03/23/15 Page 69 of 136
Record      DNIS     FirstName      LastName         Street                City             State   Zip
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Exhibit A




                   Case 1:14-cv-00333-CCE-JEP Document 48-2 Filed 03/23/15 Page 70 of 136
Record      DNIS     FirstName      LastName         Street                City             State   Zip
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Exhibit A




                   Case 1:14-cv-00333-CCE-JEP Document 48-2 Filed 03/23/15 Page 71 of 136
Record      DNIS     FirstName      LastName         Street                City             State   Zip
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Exhibit A




                   Case 1:14-cv-00333-CCE-JEP Document 48-2 Filed 03/23/15 Page 72 of 136
Record      DNIS     FirstName      LastName         Street                City             State   Zip
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Exhibit A




                   Case 1:14-cv-00333-CCE-JEP Document 48-2 Filed 03/23/15 Page 73 of 136
Record      DNIS     FirstName      LastName         Street                City             State   Zip
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Exhibit A




                   Case 1:14-cv-00333-CCE-JEP Document 48-2 Filed 03/23/15 Page 74 of 136
Record      DNIS     FirstName      LastName         Street                City             State   Zip
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Exhibit A




                   Case 1:14-cv-00333-CCE-JEP Document 48-2 Filed 03/23/15 Page 75 of 136
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Exhibit A




                   Case 1:14-cv-00333-CCE-JEP Document 48-2 Filed 03/23/15 Page 76 of 136
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Exhibit A




                   Case 1:14-cv-00333-CCE-JEP Document 48-2 Filed 03/23/15 Page 77 of 136
Record      DNIS     FirstName      LastName         Street                City             State   Zip
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Exhibit A




                   Case 1:14-cv-00333-CCE-JEP Document 48-2 Filed 03/23/15 Page 78 of 136
Record      DNIS     FirstName      LastName         Street                City             State   Zip
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Exhibit A




                   Case 1:14-cv-00333-CCE-JEP Document 48-2 Filed 03/23/15 Page 79 of 136
Record      DNIS     FirstName      LastName         Street                City             State   Zip
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Exhibit A




                   Case 1:14-cv-00333-CCE-JEP Document 48-2 Filed 03/23/15 Page 80 of 136
Record      DNIS     FirstName      LastName         Street                City             State   Zip
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Exhibit A




                   Case 1:14-cv-00333-CCE-JEP Document 48-2 Filed 03/23/15 Page 81 of 136
Record      DNIS     FirstName      LastName         Street                City             State   Zip
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Exhibit A




                   Case 1:14-cv-00333-CCE-JEP Document 48-2 Filed 03/23/15 Page 82 of 136
Record      DNIS     FirstName      LastName         Street                City             State   Zip
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Exhibit A




                   Case 1:14-cv-00333-CCE-JEP Document 48-2 Filed 03/23/15 Page 83 of 136
Record      DNIS     FirstName      LastName         Street                City             State   Zip
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Exhibit A




                   Case 1:14-cv-00333-CCE-JEP Document 48-2 Filed 03/23/15 Page 84 of 136
Record      DNIS     FirstName      LastName         Street                City             State   Zip
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Exhibit A




                   Case 1:14-cv-00333-CCE-JEP Document 48-2 Filed 03/23/15 Page 85 of 136
Record      DNIS     FirstName      LastName         Street                City             State   Zip
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Exhibit A




                   Case 1:14-cv-00333-CCE-JEP Document 48-2 Filed 03/23/15 Page 86 of 136
Record      DNIS     FirstName      LastName         Street                City             State   Zip
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Exhibit A




                   Case 1:14-cv-00333-CCE-JEP Document 48-2 Filed 03/23/15 Page 87 of 136
Record      DNIS     FirstName      LastName         Street                City             State   Zip
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Exhibit A




                   Case 1:14-cv-00333-CCE-JEP Document 48-2 Filed 03/23/15 Page 88 of 136
Record      DNIS     FirstName      LastName         Street                City             State   Zip
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Exhibit A




                   Case 1:14-cv-00333-CCE-JEP Document 48-2 Filed 03/23/15 Page 89 of 136
Record      DNIS     FirstName      LastName         Street                City             State   Zip
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Exhibit A




                   Case 1:14-cv-00333-CCE-JEP Document 48-2 Filed 03/23/15 Page 90 of 136
Record      DNIS     FirstName      LastName         Street                City             State   Zip
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Exhibit A




                   Case 1:14-cv-00333-CCE-JEP Document 48-2 Filed 03/23/15 Page 91 of 136
Record      DNIS     FirstName      LastName         Street                City             State   Zip
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Exhibit A




                   Case 1:14-cv-00333-CCE-JEP Document 48-2 Filed 03/23/15 Page 92 of 136
Record      DNIS     FirstName      LastName         Street                City             State   Zip
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Exhibit A




                   Case 1:14-cv-00333-CCE-JEP Document 48-2 Filed 03/23/15 Page 93 of 136
Record      DNIS     FirstName      LastName         Street                City             State   Zip
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Exhibit A




                   Case 1:14-cv-00333-CCE-JEP Document 48-2 Filed 03/23/15 Page 94 of 136
Record      DNIS     FirstName      LastName         Street                City             State   Zip
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Exhibit A




                   Case 1:14-cv-00333-CCE-JEP Document 48-2 Filed 03/23/15 Page 95 of 136
Record      DNIS     FirstName      LastName         Street                City             State   Zip
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Exhibit A




                   Case 1:14-cv-00333-CCE-JEP Document 48-2 Filed 03/23/15 Page 96 of 136
Record      DNIS     FirstName      LastName         Street                City             State   Zip
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Exhibit A




                   Case 1:14-cv-00333-CCE-JEP Document 48-2 Filed 03/23/15 Page 97 of 136
Record      DNIS     FirstName      LastName         Street                City             State   Zip
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Exhibit A




                   Case 1:14-cv-00333-CCE-JEP Document 48-2 Filed 03/23/15 Page 98 of 136
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Exhibit A




                   Case 1:14-cv-00333-CCE-JEP Document 48-2 Filed 03/23/15 Page 99 of 136
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Exhibit A




                   Case 1:14-cv-00333-CCE-JEP Document 48-2 Filed 03/23/15 Page 100 of 136
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Exhibit A




                   Case 1:14-cv-00333-CCE-JEP Document 48-2 Filed 03/23/15 Page 101 of 136
Record      DNIS     FirstName      LastName          Street                City             State   Zip
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Exhibit A




                   Case 1:14-cv-00333-CCE-JEP Document 48-2 Filed 03/23/15 Page 102 of 136
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Exhibit A




                   Case 1:14-cv-00333-CCE-JEP Document 48-2 Filed 03/23/15 Page 103 of 136
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Exhibit A




                   Case 1:14-cv-00333-CCE-JEP Document 48-2 Filed 03/23/15 Page 104 of 136
Record      DNIS     FirstName      LastName          Street                City             State   Zip
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Exhibit A




                   Case 1:14-cv-00333-CCE-JEP Document 48-2 Filed 03/23/15 Page 105 of 136
Record      DNIS     FirstName      LastName          Street                City             State   Zip
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Exhibit A




                   Case 1:14-cv-00333-CCE-JEP Document 48-2 Filed 03/23/15 Page 106 of 136
Record      DNIS     FirstName      LastName          Street                City             State   Zip
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Exhibit A




                   Case 1:14-cv-00333-CCE-JEP Document 48-2 Filed 03/23/15 Page 107 of 136
Record      DNIS     FirstName      LastName          Street                City             State   Zip
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Exhibit A




                   Case 1:14-cv-00333-CCE-JEP Document 48-2 Filed 03/23/15 Page 108 of 136
Record      DNIS     FirstName      LastName          Street                City             State   Zip
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Exhibit A




                   Case 1:14-cv-00333-CCE-JEP Document 48-2 Filed 03/23/15 Page 109 of 136
Record      DNIS     FirstName      LastName          Street                City             State   Zip
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Exhibit A




                   Case 1:14-cv-00333-CCE-JEP Document 48-2 Filed 03/23/15 Page 110 of 136
Record      DNIS     FirstName      LastName          Street                City             State   Zip
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Exhibit A




                   Case 1:14-cv-00333-CCE-JEP Document 48-2 Filed 03/23/15 Page 111 of 136
Record      DNIS     FirstName      LastName          Street                City             State   Zip
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Exhibit A




                   Case 1:14-cv-00333-CCE-JEP Document 48-2 Filed 03/23/15 Page 112 of 136
Record      DNIS     FirstName      LastName          Street                City             State   Zip
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Exhibit A




                   Case 1:14-cv-00333-CCE-JEP Document 48-2 Filed 03/23/15 Page 113 of 136
Record      DNIS     FirstName      LastName          Street                City             State   Zip
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Exhibit A




                   Case 1:14-cv-00333-CCE-JEP Document 48-2 Filed 03/23/15 Page 114 of 136
Record      DNIS     FirstName      LastName          Street                City             State   Zip
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Exhibit A




                   Case 1:14-cv-00333-CCE-JEP Document 48-2 Filed 03/23/15 Page 115 of 136
Record      DNIS     FirstName      LastName          Street                City             State   Zip
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Exhibit A




                   Case 1:14-cv-00333-CCE-JEP Document 48-2 Filed 03/23/15 Page 116 of 136
Record      DNIS     FirstName      LastName          Street                City             State   Zip
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Exhibit A




                   Case 1:14-cv-00333-CCE-JEP Document 48-2 Filed 03/23/15 Page 117 of 136
Record      DNIS     FirstName      LastName          Street                City             State   Zip
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Exhibit A




                   Case 1:14-cv-00333-CCE-JEP Document 48-2 Filed 03/23/15 Page 118 of 136
Record      DNIS     FirstName      LastName          Street                City             State   Zip
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Exhibit A




                   Case 1:14-cv-00333-CCE-JEP Document 48-2 Filed 03/23/15 Page 119 of 136
Record      DNIS     FirstName      LastName          Street                City             State   Zip
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Exhibit A




                   Case 1:14-cv-00333-CCE-JEP Document 48-2 Filed 03/23/15 Page 120 of 136
Record      DNIS     FirstName      LastName          Street                City             State   Zip
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Exhibit A




                   Case 1:14-cv-00333-CCE-JEP Document 48-2 Filed 03/23/15 Page 121 of 136
Record      DNIS     FirstName      LastName          Street                City             State   Zip
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Exhibit A




                   Case 1:14-cv-00333-CCE-JEP Document 48-2 Filed 03/23/15 Page 122 of 136
Record      DNIS     FirstName      LastName          Street                City             State   Zip
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Exhibit A




                   Case 1:14-cv-00333-CCE-JEP Document 48-2 Filed 03/23/15 Page 123 of 136
Record      DNIS     FirstName      LastName          Street                City             State   Zip
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Exhibit A




                   Case 1:14-cv-00333-CCE-JEP Document 48-2 Filed 03/23/15 Page 124 of 136
Record      DNIS     FirstName      LastName          Street                City             State   Zip
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Exhibit A




                   Case 1:14-cv-00333-CCE-JEP Document 48-2 Filed 03/23/15 Page 125 of 136
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Exhibit A




                   Case 1:14-cv-00333-CCE-JEP Document 48-2 Filed 03/23/15 Page 126 of 136
Record      DNIS     FirstName      LastName          Street                City             State   Zip
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Exhibit A




                   Case 1:14-cv-00333-CCE-JEP Document 48-2 Filed 03/23/15 Page 127 of 136
Record      DNIS     FirstName      LastName          Street                City             State   Zip
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Exhibit A




                   Case 1:14-cv-00333-CCE-JEP Document 48-2 Filed 03/23/15 Page 128 of 136
Record      DNIS     FirstName      LastName          Street                City             State   Zip
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Exhibit A




                   Case 1:14-cv-00333-CCE-JEP Document 48-2 Filed 03/23/15 Page 129 of 136
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Exhibit A




                   Case 1:14-cv-00333-CCE-JEP Document 48-2 Filed 03/23/15 Page 130 of 136
Record      DNIS     FirstName      LastName          Street                City             State   Zip
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Exhibit A




                   Case 1:14-cv-00333-CCE-JEP Document 48-2 Filed 03/23/15 Page 131 of 136
Record      DNIS     FirstName      LastName          Street                City             State   Zip
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Exhibit A




                   Case 1:14-cv-00333-CCE-JEP Document 48-2 Filed 03/23/15 Page 132 of 136
Record      DNIS     FirstName      LastName          Street                City             State   Zip
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Exhibit A




                   Case 1:14-cv-00333-CCE-JEP Document 48-2 Filed 03/23/15 Page 133 of 136
Record      DNIS     FirstName      LastName          Street                City             State   Zip
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Exhibit A




                   Case 1:14-cv-00333-CCE-JEP Document 48-2 Filed 03/23/15 Page 134 of 136
Record      DNIS     FirstName      LastName          Street                City             State   Zip
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Exhibit A




                   Case 1:14-cv-00333-CCE-JEP Document 48-2 Filed 03/23/15 Page 135 of 136
Record      DNIS     FirstName      LastName          Street                City             State   Zip
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Exhibit A




                   Case 1:14-cv-00333-CCE-JEP Document 48-2 Filed 03/23/15 Page 136 of 136
